     Case 2:15-cv-08248-FMO-MRW Document 1 Filed 10/21/15 Page 1 of 12 Page ID #:1



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8

9                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
10
      JONATHAN WEISBERG,                            Case No.:
11    individually and on behalf of all
      others similarly situated,                    CLASS ACTION
12
                     Plaintiff,                     COMPLAINT FOR DAMAGES AND
13
                                                    INJUNCTIVE RELIEF PURSUANT
                             v.                     TO THE TELEPHONE CONSUMER
14
                                                    PROTECTION ACT, 47 U.S.C. § 227,
      HD SUPPLY, INC.,                              ET SEQ.
15
                    Defendant.                      JURY TRIAL DEMANDED
16

17
                                           INTRODUCTION
18
         1. JONATHAN WEISBERG (“Plaintiff”) bring this Class Action Complaint
19
            for damages, injunctive relief, and any other available legal or equitable
20          remedies, resulting from the illegal actions of HD SUPPLY, INC.
21          (“Defendant”), in negligently contacting Plaintiff on Plaintiff’s cellular
22          telephone, in violation of the Telephone Consumer Protection Act, 47 U.S.C.
23          § 227 et seq., (“TCPA”), thereby invading Plaintiff’s privacy. Plaintiff
24          alleges as follows upon personal knowledge as to himself and his own acts
25



                                                  Page 1
      _____________________________________________________________________________________________

                                              COMPLAINT
     Case 2:15-cv-08248-FMO-MRW Document 1 Filed 10/21/15 Page 2 of 12 Page ID #:2




1           and experiences, and, as to all other matters, upon information and belief,
2           including investigation conducted by their attorneys.
3        2. The TCPA was designed to prevent calls and messages like the ones

4
            described within this complaint, and to protect the privacy of citizens like

5
            Plaintiff. “Voluminous consumer complaints about abuses of telephone
            technology – for example, computerized calls dispatched to private homes –
6
            prompted Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132
7
            S. Ct. 740, 744 (2012).
8
         3. In enacting the TCPA, Congress intended to give consumers a choice as to
9
            how creditors and telemarketers may call them, and made specific findings
10
            that “[t]echnologies that might allow consumers to avoid receiving such
11
            calls are not universally available, are costly, are unlikely to be enforced, or
12
            place an inordinate burden on the consumer.           TCPA, Pub.L. No. 102–243,
13
            § 11. Toward this end, Congress found that
14

15                  [b]anning such automated or prerecorded telephone calls to the home,
                    except when the receiving party consents to receiving the call or when
16                  such calls are necessary in an emergency situation affecting the health
17
                    and safety of the consumer, is the only effective means of protecting
                    telephone consumers from this nuisance and privacy invasion.
18
            Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012
19

20          WL 3292838, at* 4 (N.D.Ill. Aug. 10, 2012) (citing Congressional findings
21
            on TCPA’s purpose).
22

23
         4. Congress also specifically found that “the evidence presented to the
            Congress indicates that automated or prerecorded calls are a nuisance and an
24
            invasion of privacy, regardless of the type of call….” Id. at §§ 12-13. See
25



                                                  Page 2
      _____________________________________________________________________________________________

                                              COMPLAINT
     Case 2:15-cv-08248-FMO-MRW Document 1 Filed 10/21/15 Page 3 of 12 Page ID #:3




1             also, Mims, 132 S. Ct. at 744.
2        5. As Judge Easterbrook of the Seventh Circuit recently explained in a TCPA
3             case regarding calls to a non-debtor similar to this one:

4
                    The Telephone Consumer Protection Act … is well known for its
5                   provisions limiting junk-fax transmissions. A less-litigated part of the
6
                    Act curtails the use of automated dialers and prerecorded messages to
                    cell phones, whose subscribers often are billed by the minute as soon
7                   as the call is answered—and routing a call to voicemail counts as
                    answering the call. An automated call to a landline phone can be an
8
                    annoyance; an automated call to a cell phone adds expense to
9                   annoyance.
10            Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).

11
         6. The Ninth Circuit recently affirmed certification of a TCPA class case
              remarkably similar to this one in Meyer v. Portfolio Recovery Associates,
12
              LLC, __ F.3d__, 2012 WL 4840814 (9th Cir. Oct. 12, 2012).
13
                                        JURISDICTION AND VENUE
14
         7. This Court has federal question jurisdiction because this case arises out of
15
              violation of federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC,
16
              132 S. Ct. 740 (2012).
17
         8.      Venue is proper in the United States District Court for the Central
18
              District of California pursuant to 18 U.S.C. § 1391(b) and 1441(a) because
19
              Defendant is subject to personal jurisdiction in the County of Los Angeles,
20
              State of California.
21                                                 PARTIES
22       9.      Plaintiff is, and at all times mentioned herein was, a citizen and resident
23            of the State of California. Plaintiff is, and at all times mentioned herein was,
24            a “person” as defined by 47 U.S.C. § 153 (10).
25



                                                  Page 3
      _____________________________________________________________________________________________

                                               COMPLAINT
     Case 2:15-cv-08248-FMO-MRW Document 1 Filed 10/21/15 Page 4 of 12 Page ID #:4




1        10.Plaintiff is informed and believes, and thereon alleges, that Defendant is, and
2           at all times mentioned herein was, a corporation whose State of
3           Incorporation and principal place of business is in the State of Georgia.

4
            Defendant, is and at all times mentioned herein was, a corporation and is a

5
            “person,” as defined by 47 U.S.C. § 153 (10). Defendant provides personal
            home and bath products to hundreds of thousands of consumers. Plaintiff
6
            alleges that at all times relevant herein Defendant conducted business in the
7
            State of California and in the County of Los Angeles, and within this judicial
8
            district.
9
                                      FACTUAL ALLEGATIONS
10
         11.At all times relevant, Plaintiff was a citizen of the County of Los Angeles,
11
            State of California. Plaintiff is, and at all times mentioned herein was, a
12
            “person” as defined by 47 U.S.C. § 153 (10).
13
         12.Defendant is, and at all times mentioned herein was a “person,” as defined
14          by 47 U.S.C. § 153 (10).
15       13.At all times relevant Defendant conducted business in the State of California
16          and in the County of Los Angeles, within this judicial district.
17       14.On or about 2011, Plaintiff visited Defendant’s retail establishment.
18       15.While purchasing goods from Defendant’s store, an employee informed
19          Plaintiff that if Plaintiff sent a text message from Plaintiff’s cellular
20          telephone to Defendant at a specified number that Plaintiff would receive,

21
            via text message reply, a 10% discount coupon that could be used

22
            immediately towards Plaintiff’s purchase.
         16.At no time did Defendant’s employee inform Plaintiff that as a result of
23
            Plaintiff’s text message to Defendant, that Defendant would utilize
24

25



                                                  Page 4
      _____________________________________________________________________________________________

                                              COMPLAINT
     Case 2:15-cv-08248-FMO-MRW Document 1 Filed 10/21/15 Page 5 of 12 Page ID #:5




1           Plaintiff’s cellular telephone number to send spam text message and/or
2           promotional offers.
3        17.Accordingly, Plaintiff sent a text message to Defendant from Plaintiff’s

4
            cellular telephone, received the 10% discount coupon via reply text message

5
            from Defendant and completed Plaintiff’s purchase.
         18.Defendant then began to use Plaintiff’s cellular telephone for the purpose of
6
            sending Plaintiff spam advertisements and/or promotional offers, via text
7
            messages, including a text message sent to and received by Plaintiff on or
8
            about August 3, 2015.
9
         19.On August 3, 2015, Plaintiff received a text message from Defendant that
10
            read:
11

12
                 HD Supply HIS: Craftsman Exterior Doors for $597.15!!
                 Limited quantities available. While supplies last. Exclusions
13               apply. To end messages reply STOP Reply HELP to 99000 for
                 help
14

15       20.Plaintiff, on or about August 3, 2015, responded to Defendant’s text
16          message notification by replying “STOP.”
17       21.Immediately after on August 3, 2015, Defendant responded by sending a text

18          message that read:

19               All-In-1 Info Alerts: You opted out and will no longer receive
                 messages from All-In-1 Info Alerts. 1-866-866-0009
20
         22.Though Plaintiff had not given his prior express consent to be contacted by
21
            ATDS by Defendant, by way of Plaintiff’s August 3, 2015 text message to
22
            Defendant, Plaintiff had now withdrawn any consent Defendant might have
23
            believed Defendant had prior to that point.
24
         23.On October 9, 2015, Plaintiff received a text message from Defendant that
25          read:


                                                  Page 5
      _____________________________________________________________________________________________

                                              COMPLAINT
     Case 2:15-cv-08248-FMO-MRW Document 1 Filed 10/21/15 Page 6 of 12 Page ID #:6




1
                   HDSHIS: You are opted in to receive 4msg/mo of Promotion
2                  Deals. Msg&Data rates may apply. Reply HELP for help.
                   Reply STOP to cancel.
3

4           24.On October 9, 2015, Plaintiff received another text message from Defendant
5              that read:
6
                   HDSHIS: Check out this month’s Price Check! This month
7                  we’re showcasing Everyday Low Pricing on doors, flooring,
                   cabinets and fixtures! T.zip.ma/15ql
8

9           25.On October 9, 2015, Plaintiff received another text message from Defendant
10             that read:
11
                   HDSHIS: You opted out and will no longer receive messages
12                 from HDSHIS. 9167512319.
13          26.These text messages placed to Plaintiff’s cellular telephone were placed via

14
               an “automatic telephone dialing system,” (“ATDS”) as defined by 47 U.S.C.
               § 227 (a)(1) as prohibited by 47 U.S.C. § 227 (b)(1)(A).
15
            27.The telephone number that Defendant, or its agent called was assigned to a
16
               cellular telephone service for which Plaintiff incurs a charge for incoming
17
               calls pursuant to 47 U.S.C. § 227 (b)(1).
18
            28.These telephone calls constituted calls that were not for emergency purposes
19
               as defined by 47 U.S.C. § 227 (b)(1)(A)(i).
20
            29.As of October 9, 2015, Plaintiff did not provide Defendant or its agents with
21
               prior express consent to receive unsolicited text messages, pursuant to 47
22
               U.S.C. § 227 (b)(1)(A).
23
            30.These telephone calls by Defendant, or its agents, violated 47 U.S.C. §
24             227(b)(1).
25    ///


                                                  Page 6
      _____________________________________________________________________________________________

                                              COMPLAINT
     Case 2:15-cv-08248-FMO-MRW Document 1 Filed 10/21/15 Page 7 of 12 Page ID #:7




1                                  CLASS ACTION ALLEGATIONS
2        31.Plaintiff brings this action on behalf of herself and on behalf of and all
3           others similarly situated (“the Class”).

4
         32.Plaintiff represents, and is a member of, the Class, consisting of all persons

5
            within the United States who received any unsolicited text messages from
            Defendant which text message was not made for emergency purposes or
6
            with the recipient’s prior express consent within the four years prior to the
7
            filing of this Complaint.
8
         33.Defendant and its employees or agents are excluded from the Class.
9
            Plaintiff does not know the number of members in the Class, but believes the
10
            Class members number in the hundreds of thousands, if not more. Thus, this
11
            matter should be certified as a Class action to assist in the expeditious
12
            litigation of this matter.
13
         34.Plaintiff and members of the Class were harmed by the acts of Defendant in
14          at least the following ways: Defendant, either directly or through its agents,
15          illegally contacted Plaintiff and the Class members via their cellular
16          telephones by using marketing and text messages, thereby causing Plaintiff
17          and the Class members to incur certain cellular telephone charges or reduce
18          cellular telephone time for which Plaintiff and the Class members previously
19          paid, and invading the privacy of said Plaintiff and the Class members.
20          Plaintiff and the Class members were damaged thereby.

21
         35.This suit seeks only damages and injunctive relief for recovery of economic

22
            injury on behalf of the Class, and it expressly is not intended to request any
            recovery for personal injury and claims related thereto. Plaintiff reserves the
23
            right to expand the Class definition to seek recovery on behalf of additional
24

25



                                                  Page 7
      _____________________________________________________________________________________________

                                              COMPLAINT
     Case 2:15-cv-08248-FMO-MRW Document 1 Filed 10/21/15 Page 8 of 12 Page ID #:8




1           persons as warranted as facts are learned in further investigation and
2           discovery.
3        36.The joinder of the Class members is impractical and the disposition of their

4
            claims in the Class action will provide substantial benefits both to the parties

5
            and to the court. The Class can be identified through Defendant’s records or
            Defendant’s agents’ records.
6
         37.There is a well-defined community of interest in the questions of law and
7
            fact involved affecting the parties to be represented. The questions of law
8
            and fact to the Class predominate over questions which may affect
9
            individual Class members, including the following:
10
             a)     Whether, within the four years prior to the filing of this Complaint,
11
                    Defendant or its agents sent any text messages to the Class (other than
12
                    a message made for emergency purposes or made with the prior
13
                    express consent of the called party) to a Class member using any
14                  automatic dialing system to any telephone number assigned to a
15                  cellular phone service;
16           b)     Whether Plaintiff and the Class members were damaged thereby, and
17                  the extent of damages for such violation; and
18           c)     Whether Defendant and its agents should be enjoined from engaging
19                  in such conduct in the future.
20       38.As a person that received at least one marketing and text message without

21
            Plaintiff’s prior express consent, Plaintiff is asserting claims that are typical

22
            of the Class. Plaintiff will fairly and adequately represent and protect the
            interests of the Class in that Plaintiff has no interests antagonistic to any
23
            member of the Class.
24

25



                                                  Page 8
      _____________________________________________________________________________________________

                                              COMPLAINT
     Case 2:15-cv-08248-FMO-MRW Document 1 Filed 10/21/15 Page 9 of 12 Page ID #:9




1        39.Plaintiff and the members of the Class have all suffered irreparable harm as
2           a result of the Defendant’s unlawful and wrongful conduct. Absent a class
3           action, the Class will continue to face the potential for irreparable harm. In

4
            addition, these violations of law will be allowed to proceed without remedy

5
            and Defendant will likely continue such illegal conduct. Because of the size
            of the individual Class member’s claims, few, if any, Class members could
6
            afford to seek legal redress for the wrongs complained of herein.
7
         40.Plaintiff has retained counsel experienced in handling class action claims
8
            and claims involving violations of the Telephone Consumer Protection Act.
9
         41.A class action is a superior method for the fair and efficient adjudication of
10
            this controversy. Class-wide damages are essential to induce Defendant to
11
            comply with federal and California law. The interest of Class members in
12
            individually controlling the prosecution of separate claims against Defendant
13
            is small because the maximum statutory damages in an individual action for
14          violation of privacy are minimal. Management of these claims is likely to
15          present significantly fewer difficulties than those presented in many class
16          claims.
17       42.Defendant has acted on grounds generally applicable to the Class, thereby
18          making appropriate final injunctive relief and corresponding declaratory
19          relief with respect to the Class as a whole.
20                                   FIRST CAUSE OF ACTION

21
        NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

22
                                      47 U.S.C. § 227 ET SEQ.
         43.Plaintiff incorporates by reference all of the above paragraphs of this
23
            Complaint as though fully stated herein.
24

25



                                                  Page 9
      _____________________________________________________________________________________________

                                              COMPLAINT
 Case 2:15-cv-08248-FMO-MRW Document 1 Filed 10/21/15 Page 10 of 12 Page ID #:10




1       44.The foregoing acts and omissions of Defendant constitute numerous and
2          multiple negligent violations of the TCPA, including but not limited to each
3          and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.

4
        45.As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq,

5
           Plaintiff and The Class are entitled to an award of $500.00 in statutory
           damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
6
        46.Plaintiff and the Class are also entitled to and seek injunctive relief
7
           prohibiting such conduct in the future.
8
                                   SECOND CAUSE OF ACTION
9
                       KNOWING AND/OR WILLFUL VIOLATIONS OF THE
10
                          TELEPHONE CONSUMER PROTECTION ACT
11
                                     47 U.S.C. § 227 ET SEQ.
12
        47.Plaintiff incorporates by reference all of the above paragraphs of this
13
           Complaint as though fully stated herein.
14      48.The foregoing acts and omissions of Defendant constitute numerous and
15         multiple knowing and/or willful violations of the TCPA, including but not
16         limited to each and every one of the above-cited provisions of 47 U.S.C. §
17         227 et seq.
18      49.As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
19         227 et seq, Plaintiff and The Class are entitled to an award of $1,500.00 in
20         statutory damages, for each and every violation, pursuant to 47 U.S.C. §

21
           227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

22
        50.Plaintiff and the Class are also entitled to and seek injunctive relief
           prohibiting such conduct in the future.
23
                                       PRAYER FOR RELIEF
24
           Wherefore, Plaintiff respectfully requests the Court grant Plaintiff, and The
25



                                                Page 10
     _____________________________________________________________________________________________

                                             COMPLAINT
 Case 2:15-cv-08248-FMO-MRW Document 1 Filed 10/21/15 Page 11 of 12 Page ID #:11




1    Class members the following relief against Defendant:
2                 FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
3                             THE TCPA, 47 U.S.C. § 227 ET SEQ.

4
            As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),

5
              Plaintiff seeks for himself and each Class member $500.00 in statutory
              damages, for each and every violation, pursuant to 47 U.S.C. §
6
              227(b)(3)(B).
7
            Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
8
              conduct in the future.
9
            Any other relief the Court may deem just and proper.
10
                 SECOND CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
11
                              THE TCPA, 47 U.S.C. § 227 ET SEQ.
12
            As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
13
              Plaintif seeks for himself and each Class member $1500.00 in statutory
14            damages, for each and every violation, pursuant to 47 U.S.C. §
15            227(b)(3)(B).
16          Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
17            conduct in the future.
18          Any other relief the Court may deem just and proper.
19   ///
20   ///

21
     ///

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                                                Page 11
     _____________________________________________________________________________________________

                                             COMPLAINT
 Case 2:15-cv-08248-FMO-MRW Document 1 Filed 10/21/15 Page 12 of 12 Page ID #:12




1                                         TRIAL BY JURY
2       51.Pursuant to the seventh amendment to the Constitution of the United States
3          of America, Plaintiff is entitled to, and demands, a trial by jury.

4

5
     Dated: October 21, 2015                                  Respectfully submitted,
6
                                        THE LAW OFFICES OF TODD M. FRIEDMAN, P.C.
7

8
                                                                 By: ___/s Todd M. Friedman
9
                                                                   TODD M. FRIEDMAN, ESQ.
10                                                                  ATTORNEY FOR PLAINTIFF

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                                             COMPLAINT
